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                EXHIBIT 2
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                                                                    Page 1

1                         UNITED STATES DISTRICT COURT
2                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
3                          SAN FRANCISCO DIVISION
4       ----------------------------------------------x
5       IN RE GOOGLE PLAY STORE                         Case No.
        ANTITRUST LITIGATION                            3:21-md-02981-JD
6
7       THIS DOCUMENT RELATES TO:
8       Epic Games Inc. v. Google LLC, et al.,
        Case No: 3:20-cv-05671-JD
9
        In re Google Play Consumer
10      Antitrust Litigation,
        Case No: 3:20-cv-05761-JD
11
        In re Google Play Developer
12      Antitrust Litigation,
        Case No: 3:20-cv-05792-JD
13
14      State of Utah, et al.,
        v. Google LLC, et al.,
15      Case No: 3:21-cv-05227-JD
16      ----------------------------------------------x
17
18          *HIGHLY CONFIDENTIAL - UNDER PROTECTIVE ORDER*
19
20         REMOTE VIDEOTAPED DEPOSITION BY VIRTUAL ZOOM OF
21                                 SAMEER SAMAT
22                        Wednesday, February 2, 2022
23
24      Reported By: Lynne Ledanois, CSR 6811
25

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                                                                   Page 14

1                   Lewis and in-house for Google is
2                   Alex Zbrozek.       We represent Google
3                   and the witness today.
4
5                                    SAMEER SAMAT,
6            having been duly sworn, testified as follow
7                                     EXAMINATION
8
9       BY MR. SUMMERS:
10                  Q     Good morning, Mr. Samat.                My
11         name is Glen Summers.                As you may have
12         just heard, I'm with the firm Bartlit
13         Beck and I'm one of the lawyers
14         representing the consumer class.                    I'll
15         be starting the questioning today and
16         then others will follow along.
17                        What is your current
18         position at Google?
19                  A     First, it's nice to meet
20         you, Mr. Summers.
21                        My current position at
22         Google is vice president of product
23         management.
24                  Q     That's specifically for
25         Google Play?

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1          them separately only because the
2          consumer proposition is different and
3          we made a number of enhancements to
4          the product.
5                          But I'm happy to answer
6          questions for you to the best of my
7          ability on Android Market or Google
8          Play.
9                   Q      Great.       We'll do our best.
10                         As I understand it -- I want
11         to talk about some of the contracts
12         that relate to the Google Play
13         business.
14                         As I understand it, from OEM
15         to preload, the Google apps notice,
16         the GMS suite or GMS 4, the OEM has to
17         enter into a mobile application
18         distribution agreement, MADA; is that
19         correct?
20                  A      If an OEM wants to preload a
21         core set of Google applications, then
22         we do have a licensing agreement for
23         that which is known as MADA, yes.
24                  Q      And they have to enter into
25         the MADA or they don't get the license

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1          to the GMS apps; correct?
2                   A        Well, we have a -- just to
3          make sure that we're talking about the
4          same thing here, and you can correct
5          me if I'm not answering your question.
6                            But they can use Android
7          without a problem -- without any
8          license, excuse me.                And if they want
9          to load -- if they want to have Google
10         services on those devices, they need
11         to enter into a license agreement with
12         us and they also need to ensure that
13         their device meets a certain level of
14         security requirement and other
15         compliance -- excuse me, not
16         compliance but --
17                  Q        Sir, sir, sir.             I need you
18         to stop going off in areas that I'm
19         not inquiring about.
20                           We're going to end up having
21         to terminate the deposition or resume
22         it.          I need you to focus on my
23         questions, please.
24                           The agreement is called a
25         MADA; correct?

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